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                                                           DRANX TOUR 2
                                                            NICHOLSON



                                                              X
                                                              X
                                                              X
                                                              X
                                                             X
                                                             X
                                                              X
                                                             X
                                                             X
                                                              X
                                                              X
                                                               X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X



NOTE: STRAPS NEED TO BE MORE SECURE ON MAIL, CAUSE BUNDLES
TO COME APART.
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                             MID-ATLANTIC
SANDRA NICHOLSON

    SDO                                     910 223-3646




   X                                        ALL AREAS ARE CKECKED
    X
    X

    X
                                             POLITICAL MAIL FOR DISPATCH
    X

    X

    X                                          NO MAIL IN TRAILER
   X                                        APC'S IN TRAILER ON SHORT DOCK
    X

   X

    X
                                              MAIL IN AREA
    X
                                               MAIL IN AREA
    X

    X
